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DUE DATE                                                                                               Wells Fargo            Wells Fargo       Wells Fargo
  17TH             9/17/2019                          10.0%                               IRS         USA Holdings           USA Holdings    Financial Bank
                  Unsecured         Debtor Pmt      Tee Fee            ATTY             Priority         1st Mtg                  Arrears          2nd Mtg
             60                60
 9/17/2019    1       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
10/17/2019    2       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
11/17/2019    3       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
12/17/2019    4       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 1/17/2020    5       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 2/17/2020    6       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 3/17/2020    7       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 4/17/2020    8       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 5/17/2020    9       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 6/17/2020   10       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 7/17/2020   11       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 8/17/2020   12       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 9/17/2020   13       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
10/17/2020   14       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
11/17/2020   15       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
12/17/2020   16       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 1/17/2021   17       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 2/17/2021   18       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 3/17/2021   19       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 4/17/2021   20       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 5/17/2021   21       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 6/17/2021   22       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 7/17/2021   23       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 8/17/2021   24       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 9/17/2021   25       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
10/17/2021   26       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
11/17/2021   27       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
12/17/2021   28       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 1/17/2022   29       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 2/17/2022   30       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 3/17/2022   31       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 4/17/2022   32       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 5/17/2022   33       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 6/17/2022   34       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 7/17/2022   35       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 8/17/2022   36       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 9/17/2022   37       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
10/17/2022   38       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
11/17/2022   39       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
12/17/2022   40       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 1/17/2023   41       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 2/17/2023   42       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 3/17/2023   43       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 4/17/2023   44       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 5/17/2023   45       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 6/17/2023   46       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 7/17/2023   47       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 8/17/2023   48       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 9/17/2023   49       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
10/17/2023   50       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
11/17/2023   51       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
12/17/2023   52       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 1/17/2024   53       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 2/17/2024   54       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 3/17/2024   55       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 4/17/2024   56       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 5/17/2024   57       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 6/17/2024   58       $0.25           $4,055.00     $405.50           $99.17              $248.55          $1,570.31              $432.23          $100.00
 7/17/2024   59       $0.25           $4,055.00     $405.50 59 at     $99.17              $248.55          $1,570.31 59 at        $432.23          $100.00
 8/17/2024   60       $0.23 60 at     $4,055.00     $405.50 1 at      $98.97 60 at        $248.55 60 at    $1,570.31 1 at         $432.45 60 at    $100.00

                     $14.98         $243,300.00   $24,330.00        $5,950.00          $14,913.00         $94,218.60           $25,934.02         $6,000.00
                  $41,978.48                                                            13,495.87
                         0%                                                          Interest 4.0%
                           Case 6:19-bk-05420-GER                    Doc 18-1   Filed 09/12/19   Page 2 of 2

DUE DATE                North Shore            Chrysler          Capital One
  17TH                     HOA                  Capital         Auto Finance
                         Ongoing               Car Loan             Car Loan
             60
 9/17/2019    1             $100.00             $622.84              $476.15
10/17/2019    2             $100.00             $622.84              $476.15
11/17/2019    3             $100.00             $622.84              $476.15
12/17/2019    4             $100.00             $622.84              $476.15
 1/17/2020    5             $100.00             $622.84              $476.15
 2/17/2020    6             $100.00             $622.84              $476.15
 3/17/2020    7             $100.00             $622.84              $476.15
 4/17/2020    8             $100.00             $622.84              $476.15
 5/17/2020    9             $100.00             $622.84              $476.15
 6/17/2020   10             $100.00             $622.84              $476.15
 7/17/2020   11             $100.00             $622.84              $476.15
 8/17/2020   12             $100.00             $622.84              $476.15
 9/17/2020   13             $100.00             $622.84              $476.15
10/17/2020   14             $100.00             $622.84              $476.15
11/17/2020   15             $100.00             $622.84              $476.15
12/17/2020   16             $100.00             $622.84              $476.15
 1/17/2021   17             $100.00             $622.84              $476.15
 2/17/2021   18             $100.00             $622.84              $476.15
 3/17/2021   19             $100.00             $622.84              $476.15
 4/17/2021   20             $100.00             $622.84              $476.15
 5/17/2021   21             $100.00             $622.84              $476.15
 6/17/2021   22             $100.00             $622.84              $476.15
 7/17/2021   23             $100.00             $622.84              $476.15
 8/17/2021   24             $100.00             $622.84              $476.15
 9/17/2021   25             $100.00             $622.84              $476.15
10/17/2021   26             $100.00             $622.84              $476.15
11/17/2021   27             $100.00             $622.84              $476.15
12/17/2021   28             $100.00             $622.84              $476.15
 1/17/2022   29             $100.00             $622.84              $476.15
 2/17/2022   30             $100.00             $622.84              $476.15
 3/17/2022   31             $100.00             $622.84              $476.15
 4/17/2022   32             $100.00             $622.84              $476.15
 5/17/2022   33             $100.00             $622.84              $476.15
 6/17/2022   34             $100.00             $622.84              $476.15
 7/17/2022   35             $100.00             $622.84              $476.15
 8/17/2022   36             $100.00             $622.84              $476.15
 9/17/2022   37             $100.00             $622.84              $476.15
10/17/2022   38             $100.00             $622.84              $476.15
11/17/2022   39             $100.00             $622.84              $476.15
12/17/2022   40             $100.00             $622.84              $476.15
 1/17/2023   41             $100.00             $622.84              $476.15
 2/17/2023   42             $100.00             $622.84              $476.15
 3/17/2023   43             $100.00             $622.84              $476.15
 4/17/2023   44             $100.00             $622.84              $476.15
 5/17/2023   45             $100.00             $622.84              $476.15
 6/17/2023   46             $100.00             $622.84              $476.15
 7/17/2023   47             $100.00             $622.84              $476.15
 8/17/2023   48             $100.00             $622.84              $476.15
 9/17/2023   49             $100.00             $622.84              $476.15
10/17/2023   50             $100.00             $622.84              $476.15
11/17/2023   51             $100.00             $622.84              $476.15
12/17/2023   52             $100.00             $622.84              $476.15
 1/17/2024   53             $100.00             $622.84              $476.15
 2/17/2024   54             $100.00             $622.84              $476.15
 3/17/2024   55             $100.00             $622.84              $476.15
 4/17/2024   56             $100.00             $622.84              $476.15
 5/17/2024   57             $100.00             $622.84              $476.15
 6/17/2024   58             $100.00             $622.84              $476.15
 7/17/2024   59             $100.00             $622.84              $476.15
 8/17/2024   60 60 at       $100.00   60 at     $622.84 60 at        $476.15

                          $6,000.00           $37,370.40          $28,569.00
                                                  31378               23,904
                                          Interest 7.25%    Interest 7.25%
